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 5
     Attorneys for the
 6     United States of America

 7
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                          EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,      )         CASE NO.   1:10-cr-00090 AWI
                                    )
12                   Plaintiff,     )         STIPULATION TO CONTINUE
                                    )         SENTENCING HEARING; ORDER
13        v.                        )         THEREON
                                    )
14   VICKEY ANN KYLE ,              )         DATE: October 31, 2011
                                    )         TIME: 9:00 a.m.
15                   Defendant.     )         CTRM: Hon. Anthony W. Ishii
                                    )
16   ______________________________ )

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18           IT IS HEREBY STIPULATED by and between the parties hereto that

19   the hearing on the sentencing in the above-entitled matter, as to

20   defendant VICKEY ANN KYLE only, previously set for July 11, 2011,

21   be continued be continued until October 31, 2011, at 9:00 a.m.

22           The reason for this continuance is to allow counsel for the

23   defendant and the government time for further preparation.        Ms.

24   Kyle’s plea agreement contains a cooperation agreement which needs

25   to be completed before she can be sentenced.        A jury trial on the

26   remaining co-defendant, Stephanie Yost, is set for October 18,

27   2011.    It is both parties estimate, at this time, that a hearing on

28   October 31, 2011, would allow the necessary time to comply with the

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 1   plea agreement and be prepared for the sentencing hearing.

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 3                                     BENJAMIN B. WAGNER
                                       United States Attorney
 4

 5   DATED: June 7, 2011         By:      /s/Mark J. McKeon
                                       MARK J. McKEON
 6                                     Assistant U.S. Attorney

 7   DATED: June 7, 2011                  /s/ Eric K. Fogderude
                                       ERIC K. FOGDERUDE
 8                                     Attorney for Defendant

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10                                     ORDER

11   IT IS SO ORDERED.

12
     Dated:      June 7, 2011
13   0m8i78                        CHIEF UNITED STATES DISTRICT JUDGE

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